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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
      v.                                   ) Case No. 1:21-CR-118 (RCL)
                                           )
ERIC MUNCHEL and                           )
LISA MARIE EISENHART                       )
__________________________________________)

  JOINT REPORT ON SCHEDULING OF DETENTION BRIEFING AND HEARING

       NOW COME Defendants Eric Munchel and Lisa Marie Eisenhart, and the United States,

through their respective undersigned counsel, and pursuant to this Court’s Order of March 26,

2021, file this Joint Report. The parties have consulted promptly as directed. The parties are in

the process of discussing whether the United States may be willing to withdraw its motion for

detention if certain additional conditions beyond those set forth in Magistrate Judge Frensley’s

Order are adopted. Defense counsel is seeking to review these new proposed conditions with

their clients to see if they will agree to them. The parties will provide a further status update to

the Court as early as possible, ideally this afternoon. If a hearing is needed, counsel are available

on Monday at 3:00 p.m. or later, Tuesday at 3:00 p.m. or later, or Wednesday at Noon or later.

Dated: March 29, 2021                                  Respectfully submitted,

       A.J. KRAMER                                     ___/s/ Gregory S. Smith______________
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